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                                                    May 31, 2022

      Via Electronic Filing
      Honorable Marilyn Cox Arleo
      United States District Judge
      U.S. District Court of New Jersey
      Martin Luther King Building
      & U.S. Courthouse
      50 Walnut Street,
      Newark, NJ 07101

      Re:       United States v. Creaghan Harry
                Criminal Case No. 19-246
                Reply to Government’s Opposition on Defendant’s Motion for Grand Jury
                Transcripts

      Dear Judge Arleo,

      Please accept this letter in-lieu of a more formal brief and in reply to the
      Government’s opposition to Defendant’s request for a copy of the grand jury
      minutes in the above referenced action.

      As discussed below, this Court should grant Defendant’s request or, at a minimum,
      review the grand jury transcripts in-camera in order to determine the
      appropriateness of Defendant’s request and whether that request should be granted.




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   A. The Government’s Opposition that it did not Concede During the Bail
      Hearing that Defendant Intended to File his Delinquent Taxes Is
      Misplaced

In opposing Defendant’s request for a copy of the grand jury transcripts, the
Government takes the words “admit” and “admission” used by Defendant and
replaces them with the words, “concede” and “concession.” In doing so, the
Government manufactures a position Defendant never took and then argues against
that manufactured position.

Defendant made it clear in his moving papers that by the Government’s own
“admission,” Defendant instructed the tax preparers not to file his taxes because he
would file them himself. Def. br. at 4; ECF No. 244 at 4. Defendant never claimed
or alleged that the Government “conceded” that Defendant would go through with
his representation but only that the Government admitted that the representation
was made by Defendant.

The purpose for highlighting this admission was to support Defendant’s position
that the Government pursued a false narrative before the grand jury by telling the
grand jury a half-truth. For example, “the Government argued, [that ‘Defendant’s]
purpose in having those income taxes prepared was in connection of seeking
financing for a million-dollar yacht,[’] and not to file the taxes (just as Defendant
had not filed taxes in previous tax years).” ECF No. 250 at 6-7, quoting ECF No.
244-1 at 10–11. (Emphasis added). The problem with this narrative to the grand
jury is that it fails to mention that the bank required the tax returns to be “filed.”

In other words, the very fact that the returns were being prepared to obtain
financing is significant, material evidence that Defendant intended to file the
returns because Defendant had to provide the bank with “filed” tax returns in order
to get financing, not just prepared returns.

Further, Defendant’s preparation of his back tax returns is perfectly legal,
acceptable and encouraged by the Internal Revenue Service (IRS). See Tax
Topics: Topic No. 153 What to Do if You Haven't Filed Your Tax Return,
https://www.irs.gov/taxtopics/tc153. The IRS does not impose a statute of


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limitations on how long you have to file past-due tax returns. You can do it at any
time—the IRS won’t decline your return but may impose a penalty. See 26 U.S.C.
6651.

Nevertheless, once the Government espoused, in its opposition, the unsupported
position that Defendant had no intention of filing the prepared tax returns, it then
moved to poison the water with deliberately designed shock-n-awe allegations that
has absolutely no relevance to whether Defendant intended to file the returns he
had prepared. ECF No. 250 at 7-8. The purpose for this tactic is to effectuate a
“wow” factor designed to taint judicial opinion of Defendant so that irrelevant
allegations would have relevant effect. This is a classic “slight of hands” move.

In other words, the Government’s arguments about straw owners, concealed
income, payments to nominees, shell companies and shell bank accounts is belied
by the clear, unadulterated paper trail of every penny of income Defendant made
and of which the Government has seized. These arguments do nothing to mitigate
the grand jury’s need to have known that: (1) the loan Defendant was seeking
required that the tax turns he had prepared be filed; (2) at the time Defendant was
arrested, the deadline for that year’s filing had not yet passed, evidencing his
incarceration before being able to file the returns; and (3) the Government has
seized and/or frozen all of Defendant’s bank accounts, leaving him without any
funds to pay taxes he may have owed.

Indeed, this evidence goes to the heart of negating the “intent” and “willful”
element of the tax offenses charged in the indictment. United States v. Goichman,
407 F. Supp. 980, 987 (E.D. Pa. 1976) (“[‘]Willfulness[’] in the tax offenses set
forth in 26 U.S.C. §§ 7201-7207 refers to a bad purpose or evil motive to do the
thing which the law forbids.”). Failure to provide the grand jury with this evidence
is not just a general constitutional infirmity but constitutes a specific, deliberate
concealment from the grand jury of the significant, exculpatory nature of
Defendant’s actions.

Irrespective of the evidence the Government claims to have indicating Defendant’s
complicity in the charged tax offenses, that evidence does not absolve the
Government of the responsibility to provide exculpatory evidence to the grand


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jury. U.S. v. Cole, 717 F. Supp. 309, 314 (E.D. Pa. 1989)(“[W]hen a prosecutor is
aware of substantial exculpatory evidence, the evidence should be disclosed to the
grand jury if it could reasonably cause the grand jury not to indict.”).

As a result, this Court should grant Defendant’s request for the grand jury minutes
or, at a minimum, conduct an in-camera review to determine whether providing the
Defendant with the grand jury minutes is appropriate. United States v. Smith, 123
F.3d 140, 143-44 (3d Cir. 1997).

   B. The Evidence Defendant Claims the Government Withheld from the Grand
      Jury is Exculpatory

Here, the Government argues that the evidence supporting Defendant’s intent to
file his back tax returns and the evidence showing that the Government’s actions
induced Defendant’s inability to both file the returns and pay the amount due is not
exculpatory. The Government reasons that the exculpatory nature of the evidence
is annulled by evidence of Defendant’s guilt. ECF No. 250 at 9-11.

The Government’s position is erroneous and inapposite to well settled law.
Whether evidence is exculpatory is not determined by measuring it against
evidence of Defendant’s guilt as the Government is attempting to do here.
Evidence is exculpatory if it is favorable to the defense and it “includes material
that goes to the heart of the defendant’s guilt or innocence as well as that which
may well alter the jury’s judgment of the credibility of a crucial prosecution
witness.” United States v. Starusko, 729 F.2d 256, 260 (3d Cir. 1984)(citing Giglio
v. United States, 405 U.S. 150, 154 (1972)).

The Government attempts to address this anomaly by claiming that Defendant back
dated the returns and that the purpose of back dating the returns was to make it
appear that the returns were already filed with the IRS during those tax years. But
this allegation is contradicted by the requirement that Defendant sign a form 8821.
An 8821 form provides the bank with authorization to obtain Defendant’s tax
records directly from the IRS and to verify, with the IRS, the information provided
in the returns submitted to the bank. Further, both walk-in and electronically filed
returns have either “filed” stamps on them or electronic filing numbers—each


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overtly identifying the returns as “filed” copies. Back dating the returns, as it is
alleged that Defendant did, only serve to provide consistency with the year the
return covers. In fact, back dating a tax return to comport with the relevant tax
year, in and of itself, is not illegal. Regardless of when the return is dated, the
actual filing date of return controls for tax purposes.

In essence, the Government’s position does not mitigate Defendant’s entitlement to
a copy of the grand jury transcripts. At the very least, this Court should review the
transcripts in-camera to determine whether Defendant is entitled to them under the
law. Smith, 123 F.3d at 143-44.

   C. Defendant Has Made A Showing that the Need for Disclosure Outweighs the
      Competing Interest of Grand Jury Secrecy

The Government sets its argument up here by wrongly claiming that Defendant
“concedes” there is no general prosecutorial duty to disclose favorable evidence to
the grand jury. ECF No. 250 at 12. Citing an unpublished opinion and, as a result, a
lack of authority for its position, the Government avoids Defendant’s point—that
while it is not obligated to “search” for exculpatory evidence, United States v.
Litman, 547 F. Supp. 645, 649 (W.D. Pa. 1982), when the Government “is aware
of substantial exculpatory evidence, the evidence should be disclosed to the grand
jury if it could reasonably cause the grand jury not to indict.” U.S. v. Cole, 717 F.
Supp. 309, 314 (E.D. Pa. 1989), citing United States v. Litman, 547 F.Supp. at 649,
United States v. Fisher, 692 F.Supp. 495, 504 (E.D.Pa. 1988), Kudisch v.
Overbeck, 618 F.Supp. 196 (D.N.J. 1985).

The Government further argues that the evidence of Defendant’s guilt is
voluminous and that Defendant’s allegations supporting his request for grand jury
transcripts are conclusory. The Government reasons that, as a result, Defendant is
not entitled to the grand jury transcripts. However, “[‘]Conclusory[’] is defined as
[‘]consisting of or relating to a conclusion or assertion for which no supporting
evidence is offered.[’]” Sri Int’l, Inc. v. Cisco Sys., Inc., 254 F. Supp. 3d 680, 707
(D. Del. 2017), quoting Merriam–Webster Unabridged (2016).




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To the contrary, Defendant’s assertion that the bank required the submission of
“filed” tax returns is not conclusory but a well-known fact, especially since the
only way for the bank to verify the validity of the tax returns is through the IRS.
Defendant’s assertion that he intended to file the tax returns himself is also a fact,
supported by his own statement that the Government has admitted Defendant
made. Defendant’s assertion that he was arrested before he was able to file his
returns is a fact, supported by the record in this case. Additionally, Defendant’s
assertion that he did not have the money to pay taxes owed because the
Government seized and/or froze his bank accounts is also a fact, supported by the
record of this case.

The Government has not denied that it kept these material facts from the grand jury
and, as reflected above and in the record, nothing Defendant has alleged in support
of his request for the grand jury minutes are speculation or conclusory.

Defendant has been specific in his request for the grand jury transcripts related to
the tax offenses charged in the indictment. As expressed in his moving papers and
herein, he has clearly argued that his particularized need is grounded in the
Government’s failure to provide the grand jury with specific exculpatory facts
which negate both the elements of “intent” and “willfulness” with respects to the
charged tax offenses.

In espousing his particularized need, Defendant is not unmindful that any
disclosure must be weighed against the need for grand jury secrecy. Here,
however, the impact on grand jury secrecy is minimal. The request is narrowly
tailored as it is limited to evidence and instructions on just the tax counts. See
Douglas Oil Co. of California v. Petrol Stops Northwest, 441 U.S. 211, 222
(1979)(defendants seeking grand jury transcripts must show “that their request is
structured to cover only material so needed.”). The need for secrecy is lessened
because the grand jury has completed its work. See United States v. Socony-
Vacuum Oil Co., 310 U.S. 150, 234 (1940) (“[A]fter the grand jury's functions are
ended, disclosure is wholly proper where the ends of justice require it.”). Any
names or testimony identifying non-codefendant, civilian witnesses (if any) can be
redacted, further reducing concerns. See Douglas Oil Co., 441 U.S. at 222 (noting
that by disclosing testimony given before the grand jury future witnesses “will


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consider the likelihood that their testimony may one day be disclosed to outside
parties” and “[f]ear of future retribution or social stigma may act as powerful
deterrents to those who would come forward and aid the grand jury in the
performance of its duties.”).

Finally, to address any lingering concerns about secrecy of the grand jury
proceedings, this Court can order that the relevant portions of the transcripts be
compelled for in-camera review only. See Dennis v. United States, 384 U.S. 855,
869 (1966)(“[W]hen disclosure is permitted, it is to be done ‘discretely and
limitedly.’”) (quoting United States v. Procter & Gamble Co., 356 U.S. 681
(1958); United States v. Smith, 123 F.3d 140, 143-44 (3d Cir. 1997)(noting that
where “grand jury secrets might be disclosed” “in camera review of the disputed
material is necessary.”).

Accordingly, Defendant’s request for the grand jury transcripts or, alternatively, an
in-camera review should be granted…

                                  CONCLUSION

For all the foregoing reasons stated above, Defendant respectfully requests and
does pray that this Honorable Court grant his request for a copy of the grand jury
transcripts relevant to the charged tax offenses or, at the very least, order an in-
camera review.

                                                 Respectfully submitted,

                                                 s/Isaac Wright, Jr. Esq.
                                                 Attorney ID No. 015092008


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C:       File




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